Case 2:17-cv-01598-RFB-GWF Document 1-1 Filed 06/08/17 Page 1 of 10




           EXHIBIT “1”
                   Plaintiff’s Complaint




                        400 S. 4th Street, Suite 600
                           Las Vegas, NV 89101
     Case 2:17-cv-01598-RFB-GWF Document 1-1 Filed 06/08/17 Page 2 of 10
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28        eab. of them., cfesire to reduce or avoid their obligati.ons tc) PIainfiaf, scs as ro justi.fy an award of


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      Case 2:17-cv-01598-RFB-GWF Document 1-1 Filed 06/08/17 Page 8 of 10



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31        9.     For costs of suit theirin; and
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